Case 2:07-cv-01929-ABC-AGR Document 120 Filed 04/18/08 Page 1 of 21 Page ID #:584




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 8       MYSPACE, INC.
 9

10
                                    UNITED STATES DISTRICT COURT
11
                                CENTRAL DISTRICT OF CALIFORNIA
12

13
          MYSPACE, INC., a Delaware             CASE NO. CV-07-1929 ABC (AGRx)
14        Corporation,
                                                DECLARATION OF JOSEPH
15                                              MAROTTA IN SUPPORT OF
                       Plaintiff,               PLAINTIFF MYSPACE, INC.'S
16                                              MOTION FOR DEFAULT
17
          VS.                                   JUDGMENTS AGAINST
                                                DEFENDANTS SANFORD
18       SANFORD WALLACE D/E3/A                 WALLACE AND WALTER RINES
19
         FREEVEGASCLUBS.COM, REAL-              Filed Concurrently With:
         VEGAS-SINS.COM, and FEEBLE             Notice of Motion and Motion;
20       MINDED PRODUCTIONS, an                 Memorandum; Declaration of Lori
21       individual; WALTER RINES, an           Chang; Declaration of Shing Yin
         individual; ONLINE TURBO               Khor; Declaration of Kevin Datoo;
         MERCHANT, INC., a corporation;         and [Proposed] Order.
23       and ODYSSEUS MARKETING,                Date: May 12, 2008
         INC., a corporation,                   Time: 10:00 a.m.
24
                                                Ctrm: 680
25                                              Judge: Hon. Audrey B. Collins
                      Defendants.
26

27

28

                             DECLARATION OF JOSEPH MAROTTA IN SUPPORT OF
                      MYSPACE'S MOTION FOR DEFAULT JUDGMENTS AGAINST DEFENDANTS
Case 2:07-cv-01929-ABC-AGR Document 120 Filed 04/18/08 Page 2 of 21 Page ID #:585




  1                          DECLARATION OF JOSEPH MAROTTA
  2         I, Joseph Marotta, declare:
  3          1.     I am a Security Enforcement Analyst for MySpace, Inc. ("MySpace"),
  4   working at a MySpace office located in El Segundo, California. As a Security
  5   Enforcement Analyst, I work with MySpace's Abuse Team to investigate spamming and
  6   phishing activities on the MySpace network. The following facts are known by me to be
  7   true and correct and if called as a witness I could and would competently testify thereto
  8   under oath.
  9         2.      On or around January 26, 2008, MySpace received reports that MySpace
 10   users were receiving unsolicited commercial messages containing an image of a message
 11   instructing users to visit "BestFreePeople.com." An example of this image
 12   ("BestFreePeople.com image") is copied below:
 13
            hey you will like this for your cell
 14
            just go to BestFreePeople.com
 15         trust .me this is all you
 16         3.      On or around January 28, 2008, I began investigating this latest attack. I
 17   discovered that these messages were being sent from user accounts that had the
 18   BestFreePeople.com image uploaded onto their profiles. I performed a search using the
 19   MySpace ImagelD tool to determine which profiles were hosting these images, and the
 20   dates and times that the uplOading occurred. The MySpace ImagelD tool is a multi-
 21   function program that helps us identify, among other things, the unique image ID that
 22   MySpace assigns to an image on its server, the date and time an image was uploaded
 23   onto a user profile, and the IP address that accessed the user account to upload the image.
 24   Using this tool, I and my colleague, Allison Corona, also a Security Enforcement
 25   Analyst, found that hijacked accounts were being accessed from at least 19 different IP
 26   addresses to upload the BestFreePeople.com image onto their profiles. By performing a
 27

 28
                            DECLARATION OF JOSEPH MAROTTA IN SUPPORT OF
                     MYSPACE'S MOTION FOR DEFAULT JUDGMENTS AGAINST DEFENDANTS
Case 2:07-cv-01929-ABC-AGR Document 120 Filed 04/18/08 Page 3 of 21 Page ID #:586




     1 WHOIS search on bestunbeatableoffer.com , I saw that this website was registered by
  2 Lazarus Communications Worldwide, Inc., based in Panama City, Republic of Panama.
  3          4.    In addition to unlawfully accessing hijacked accounts to upload the
  4 BestFreePeople.com image onto their profiles, the individuals behind this attack re-
  5 accessed the same hijacked accounts to send unsolicited commercial messages containing
  6 this image to other MySpace users. Attached as Exhibit A are true and correct copies of
  7 screenshots of such messages containing this image.
  8          5.    As part of this ongoing investigation, Joeslyn Rescober, a database
  9 administrator for MySpace, at my request, performed a reverse IP search of each of the
 10 19 IP addresses to determine the number of profiles that were accessed by these
 11 addresses. On or around January 30, 2008, Ms. Rescober sent me a report confirming
 12 that the total number of profiles accessed was, at that time, 277,651.
 13          6.    These images were directing MySpace users to visit commercial websites
 14 promoting various commercial offers, such as ringtones and purported matchmaking
 15 services. When a user typed in bestfreepeople.com into its web browser, they were
 16 automatically redirected to bestunbeatableoffer.com , which appears as an iframe.
 17 Attached as Exhibit B are true and correct copies of screenshots of certain webpages that
 18 appeared when accessing bestfreepeople.com and redirecting to bestunbeatableoffer.com .
 19          7.    I used a software program called "Fiddler" to determine the HTTP web
20 progression that occurs when typing bestfreepeople.com in a web browser. Fiddler is a
21 tool that displays and logs all incoming HTTP traffic for a given website. By using
22 Fiddler, I discovered there was a website hosting an image locatedt
23 http://216.22.4.42/thanksforvisiting.jpg had appeared along the web progression. I typed
24 this URL into my browser and saw that it displayed an image of the middle finger.
25 Attached as Exhibit C is a true and correct copy of a printout of the webpage containing
26 the middle finger image, located at http://216.22.4.42/thanksforvisiting.jpg.
27
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28
                           DECLARATION OF JOSEPH MAROTTA IN SUPPORT OF
                    MYSPACE'S MOTION FOR DEFAULT JUDGMENTS AGAINST DEFENDANTS
Case 2:07-cv-01929-ABC-AGR Document 120 Filed 04/18/08 Page 4 of 21 Page ID #:587




  1         8.       I performed a WHOIS search that revealed that this website is operated by
      Online Turbo Merchant, Inc., located at 6 Laurel Lane, Stratham, New Hampshire.
  3   Attached as Exhibit D is a true and correct copy of the WHOIS report. I am informed
  4   that Online Turbo Merchant, Inc. is Walter Rines's corporation.
  5         9.      The website located at http://216.22.4.42/thanksforvisiting.jpg does not
  6   appear to be a redirecting site, or otherwise used to track data relating to advertising
  7   credit. It does not appear to serve any function other than to host this image within the
  8   web progression. Users visiting bestfreepeople.com , however, do not see this image. It
  9   is revealed only upon mapping out the web progression by using a program such as
 10   Fiddler.
 11          10.     I logged the web progression for bestfreepeople.com on seven separate
 12   occasions and saw that the http://216.22.4.42/thanksforvisiting.jpg website appeared each
 13   time. These web progressions are summarized below:
 14         (a) Web progression logged on January 28, 2008 at 9:00 a.m.:
 15

 16
                                             1. bestfreepeople.com
                                      2. 216.22.4.42 /thanksforvisiting.jpg
 17                3. www.rgjmp.com/redir.aspx?CID=4412&AFID=13776&DID=20752
                          4. wwwl.topqualityringtones.com/232/index.jsp?s=13776
 18
                 5. tracking.fsjmp.com/tracicing.php?c=71769&a=232&t=l&s=1010113776
 19                 6. ww.rgjmp.com/redir.aspx?CID=4897&AFID=13979&DID=22490
 20
                                7. login.tracking101.com/ez/ckinezpxsken/139
                                 8. www.yourcrush.net/index.aspx?cid=6044
 21

 22         (b) Web progression logged on January 29, 2008 at 11:14 a.m.:
 23
                                                                       (
                                          1. bestfreepeople.com
 24                               2. 216.22.4.42/thanksforvisiting.jpg
                   3. www.rgjmp.com/redir.aspx?CID=4412&AFID=13776&DID=20752
 25
                        4. wwwl.topqualityringtones.com/232/index.jsp?s=13776
 26                                  5. tracking. fsjmp. com/080125/
                   6. www.rgjmp.comkedir.aspx?CID=4995&AFID=13979&DID=22967
 27
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                             DECLARATION OF JOSEPH MAROTTA IN SUPPORT OF
                      MYSPACE'S MOTION FOR DEFAULT JUDGMENTS AGAINST DEFENDANTS
Case 2:07-cv-01929-ABC-AGR Document 120 Filed 04/18/08 Page 5 of 21 Page ID #:588




  1     7. mobileagogo.com/rg/genre/&r=http%3Allbestfreepeople.com/&cc=USD&ch=land
                                      ing%20page&v0=9999
  2
  3        (c) Web progression logged on February 6, 2008 at 11:24 a.m.:
  4
                                          1. bestfreepeople.com
  5                                2. 216.22.4.42/thanksforvisiting.jpg
  6                            3. publishers.xy7.com/sw/50012/CD5265/
                    4. aff.primaryads.com/t.asp?id=7266&e=15961&subid=CD5265
                         5. www.groovintones.com/1192/landing281.jsp?s=7266
          6. tracking.fsjmp.com/tracking.php?c=71769&a=281&t=l&s=1192%7C7266&e=0&
                                           m=47aa083bea5f6&1=
  9   http%3A%2F%2Fwww.groovintones.com %2F1192%2Flanding281.jsp%3Fs%3D7266&
 10                                      r=http%3A%2F%2F
          www.bestunbeatableoffer.com%2Fcaptcha-group-routine%2Fpre-entry-result.html
 11       7. www.ringtonetimes.com/script/ajaxImpl.js;jsessionid=70C478D1EB6C23D573F2
 12                                       8E3485B108A5.M06401
 13
           (d) Web progression logged on February 7, 2008 at 1:18 p.m.:
 14
 15                                     1. Bestfreepeople.com
                                 2. 216.22.4.42/thanksforvisiting.jpg
 16                           3. Publishers. xy7.com/s w/50012/CD5265
 17                                     4. Zabasearch.com
 18        (e) Web progression logged on February 29, 2008 at 1:15 p.m.:
 19                                       1. Bestfreepeople.com
 20                                    2. Bestunbeatableoffer.com
                                  3. 216.22.4.42/thanksforvisiting.jpg
 21                            4. Publishers.xy7.com/sw/50012/CD7281
 22                  5. Aff.primaryads.com/t.asp?id=7266&e15961&subid=7281
                          6. Groovintones.com/1192/landing281.jsp?sA7266
 23     7. Tracking.fsjump.comlltracking.php?c=71769&a=281&t=li&s=1192%7C7266&e=
 24                                       0&m=47c873cc33f41&1=
           http%3A%2F%2Fwww.groovintones.com%2F1192%2Flanding281.jsp%3Fs%3D
 25
                                                   7266&r=
 26               http%3A%2F%2Fwww.bestunbeatableoffer.com %2Fcaptcha-group-
                                      routine%2Fpre-entry-result.html
 27
                                               4
 28
                         DECLARATION OF JOSEPH MAROTTA IN SUPPORT OF
                  MYSPACE'S MOTION FOR DEFAULT JUDGMENTS AGAINST DEFENDANTS
Case 2:07-cv-01929-ABC-AGR Document 120 Filed 04/18/08 Page 6 of 21 Page ID #:589




 1         (0 Web progression logged on March 10, 2008 at 12:30 p.m.:
 2
                                         1. Bestfreepeople.com
 3                                     2. Tellafriendrewards.com
 4                                3. 216.22.4.42/thanksforvisiting.jpg
                               4. Publishers.xy7.com/sw/51702/CD7281
 5                                    5. Hits.affiliatetraction.com
 6              /cgi-bin/redir?pd_link=i1-a36783-o3559-c53441&trackID=CD7281
                                     6. Flycell.com/offer/?ref=655
 7
 8
           I declare under penalty of perjury under the laws of the United States of America
 9
     that the foregoing is true and correct and that this Declaration was executed on April 18,
10
     2008 in El Segundo, California.
11
12
13                                                 JOSEPH MAROTTA
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28
                           DECLARATION OF JOSEPH MAROTTA IN SUPPORT OF
                   MYSPACE'S MOTION FOR DEFAULT JUDGMENTS AGAINST DEFENDANTS
Case 2:07-cv-01929-ABC-AGR Document 120 Filed 04/18/08 Page 7 of 21 Page ID #:590




                 EXHIBIT A,
 Case 2:07-cv-01929-ABC-AGR Document 120 Filed 04/18/08 Page 8 of 21 Page ID #:591




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Case 2:07-cv-01929-ABC-AGR Document 120 Filed 04/18/08 Page 10 of 21 Page ID #:593
Case 2:07-cv-01929-ABC-AGR Document 120 Filed 04/18/08 Page 11 of 21 Page ID #:594
Case 2:07-cv-01929-ABC-AGR Document 120 Filed 04/18/08 Page 12 of 21 Page ID #:595




                  EXHIBIT B
Case 2:07-cv-01929-ABC-AGR Document 120 Filed 04/18/08 Page 13 of 21 Page ID #:596
Case 2:07-cv-01929-ABC-AGR Document 120 Filed 04/18/08 Page 14 of 21 Page ID #:597
Case 2:07-cv-01929-ABC-AGR Document 120 Filed 04/18/08 Page 15 of 21 Page ID #:598
Case 2:07-cv-01929-ABC-AGR Document 120 Filed 04/18/08 Page 16 of 21 Page ID #:599




                 EXHIBIT C
Case 2:07-cv-01929-ABC-AGR Document 120 Filed 04/18/08 Page 17 of 21 Page ID #:600

                                                                     Page 1 of 1




http://216.22.4.42/thanksforvisitingjpg                              4/17/2008
Case 2:07-cv-01929-ABC-AGR Document 120 Filed 04/18/08 Page 18 of 21 Page ID #:601




                    EXHIBIT D
Case 2:07-cv-01929-ABC-AGR Document 120 Filed 04/18/08 Page 19 of 21 Page ID #:602

 Whois record for 216.22.4.42                                                 Page 1 of 2




 IP Information for 216.22.4.42
        IP Location: MN United States New York Online Turbo Merchant Inc
         IP Address: 216.22.4.42        D      EE
            SSL Cert: vivy_yy,rewarsisrhq,cprn SSL Certificate has expired.
         Reverse IP: 2_9therSite_s_hosted on this server.
     Blacklist Status: Clear

 Whois Record
  OrgName:      Servint Corp.
  OrgID:        SRVN
  Address:      6861 Elm Street
  Address:      Suite 4-E
  City:         McLean
  StateProv:    VA
  PostalCode:   22101
  Country:      US

  NetRange:     216.22.0.0 - 216.22.63.255
  CIDR:         216.22.0.0/18
  NetName:      SERVINT-CIDR-2
  NetHandle:    NET-216-22-0-0-1
  Parent:       NET-216-0-0-0-0
  NetType:      Direct Allocation
  NameServer:   NS.SERVINT.COM
  NameServer:   NS2.SERVINT.COM
  Comment:      ADDRESSES WITHIN THIS BLOCK ARE NON-PORTABLE
  RegDate:      1998-07-14
  Updated:      2003-11-05

  RTechHandle: N0178-ARIN
  RTechName:   Network Operations
  RTechPhone: +1-703-847-1421
  RTechEmail:   noc@sentintcom

  OrgTechHandle: N0178-ARIN
  OrgTechName:   Network Operations
  OrgTechPhone: +1-703-847-1421
  OrgTechEmail:   nocCsenrint.corn

  CustName:     Online Turbo Merchant, Inc.
  Address:      6 Laurel Lane
  City:         Stratham
  StateProv:    NH
  PostalCode:   03885
  Country:      US
  RegDate:      2007-01-04
  Updated:      2007-01-04




http://whois.domaintools.com/216.22.4.42                                      4/17/2008
Case 2:07-cv-01929-ABC-AGR Document 120 Filed 04/18/08 Page 20 of 21 Page ID #:603

  Whois record for 216.22.4.42                                        Page 2 of 2


   NetRange:    216.22.4.0 - 216.22.4.255
   CIDR:        216.22.4.0/24
   NetName:     SRVN
   NetHandle:   NET-216-22-4-0-1
   Parent:      NET-216-22-0-0-1
   NetType:     Reassigned
   Comment:
   RegDate:     2007-01-04
   Updated:     2007-01-04

   RTechHandle: N0178-ARIN
   RTechName:   Network Operations
   RTechPhone: +1-703-847-1421
   RTechEmail:   noc@servintcom

   OrgTechHandle: N0178-ARIN
   OrgTechName:   Network Operations
   OrgTechPhone: +1-703-847-1421
   OrgTechEmdil:   noc@servint. corn




 http://whois.domaintools.com/216.22.4.42                            4/17/2008
 Case 2:07-cv-01929-ABC-AGR Document 120 Filed 04/18/08 Page 21 of 21 Page ID #:604



 1                                              PROOF OF SERVICE
 2 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
           I am employed in the aforesaid county, State of California; I am over the age of 18 years and not a party
 3 to the within action; my business address is 2450 Colorado Avenue, Suite 400E, Santa Monica, California 90404.
 4         On April 18, 2008, I served the DECLARATION OF JOSEPH MAROTTA IN SUPPORT
   PLAINTIFF MYSPACE, INC.'S NOTICE OF MOTION AND MOTION FOR DEFAULT JUDGMENTS
 5 AGAINST DEFENDANTS SANFORD WALLACE AND WALTER RINES; on the interested parties in this
   action by placing the true copy thereof, enclosed in a sealed envelope, postage prepaid, addressed as follows:
 6 El (BY MAIL)
              El I am readily familiar with the business practice of my place of employment in respect to the
 7            collection and processing of correspondence, pleadings and notices for mailing with United States
              Postal Service. The foregoing sealed envelope was placed for collection and mailing this date
 8            consistent with the ordinary business practice of my place of employment, so that it will be picked up
              this date with postage thereon fully prepaid at Santa Monica, California, in the ordinary course of such
 9            business.

10             Sanford Wallace                                Walter Rines
               7800 S. Rainbow Blvd., Apt. 1118               6 Laurel Lane
11
               Building 26                                    Stratham, NH 03885
12             Las Vegas, NV 89139

13             Sanford Wallace
               6130 W. Flamingo Rd. #205
14
               Las Vegas, NV 89103
15
            (BY OVERNITE EXPRESS)
16
              I am readily familiar with the business practice of my place of employment in respect to the collection
              and processing of correspondence, pleadings and notices for delivery by Overnite Express. Under the
17            practice it would be deposited with Overnite Express on that same day with postage thereon fully
              prepared at Santa Monica, California in the ordinary course of business. I am aware that on motion of
18            the party served, service is presumed invalid if delivery by Overnite Express is more than one day after
              date of deposit with Overnite Express.
19             Sanford Wallace                                  Sanford Wallace
20             7800 S. Rainbow Blvd., Apt. 1118                 6130 W. Flamingo Rd. #205
               Building 26                                      Las Vegas, NV 89103
21             Las Vegas, NV 89139

22
     El (FEDERAL)            I declare under penalty of perjury that the foregoing is true and correct, and that
23                           I am employed at the office of a member of the bar of this Court at whose
                             direction the service was made.
24
           Executed on April 18, 2008, at Santa Monica, Califo
25
26

27                                                                                  Print Name
28
                                                PROOF OF SERVICE
